       Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 1 of 11 PageID #:134




                     IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  JOSELYN RAMOS, individually and on
  behalf of all others similarly situated,            Case No. 21-cv-02032

                          Plaintiff,                  Honorable Charles P. Kocoras

  v.

 ZOOMINFO TECHNOLOGIES, LLC, a
 Delaware limited liability company,

                          Defendant.


FIRST AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff Joselyn Ramos brings this class action complaint against Defendant ZoomInfo

Technologies, LLC to put an end to its unlawful practice of using the names and identities of

Illinois residents without their consent in order to promote its service. Plaintiff, on behalf of

herself and all others similarly situated, alleges as follows upon personal knowledge as to her

own acts and experiences, and, as to all other matters, upon information and belief, including

investigation conducted by her own attorneys.

                                   NATURE OF THE ACTION

          1.     Defendant ZoomInfo operates a website that sells access to a database containing

proprietary information about people to anybody willing to pay ZoomInfo for access to it.

          2.     To market its service, ZoomInfo encourages prospective customers to perform a

free people search on its website. When consumers perform a free search for an individual—by

typing the individual’s first and last name into the search bar—ZoomInfo displays a preview

page featuring the searched individual’s full name alongside certain uniquely identifying

information, including, location, work history, job title, and partial phone number and email




                                                  1
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 2 of 11 PageID #:135




address. The purpose of this page is twofold: first, it shows potential customers that the

ZoomInfo database contains the specific individual they searched for and represents that a paid

membership grants access to much more information about the individual than the “free”

preview; and second, it offers to sell them a paid membership, where they can access proprietary

information about anybody in its database. In other words, ZoomInfo does not offer to sell

information about the individuals searched on its website, but rather, uses their identities to sell a

membership to its paid service.

       3.      Unsurprisingly, the people appearing in these advertisements never provided

ZoomInfo with their consent (written or otherwise) to use their identities for any reason, let alone

for marketing purposes.

       4.      By using Illinois residents’ full names in its advertisements without their consent

and for its own commercial gain, ZoomInfo violated—and continues to violate—the Illinois

Right of Publicity Act (“IRPA”), 765 ILCS 1075/1, et seq.

                                             PARTIES

       5.      Plaintiff Joselyn Ramos is a natural person and a citizen of the State of Illinois.

       6.      Defendant ZoomInfo, LLC, is a limited liability company existing under the laws

of the State of Delaware with its principal place of business located at 805 Broadway Street,

Suite 800, Vancouver, Washington 98660.

                                  JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2),

because (i) at least one member of the putative Class is a citizen of a state different from the

Defendant, (ii) the amount in controversy exceeds $5,000,000, exclusive of interest and costs,

and (iii) none of the exceptions under the subsection apply to this action.




                                                  2
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 3 of 11 PageID #:136




        8.       This Court has personal jurisdiction over Defendant because it transacts

significant business in this District, misappropriate the identities of people that it knows reside in

this District, and the unlawful conduct alleged in the Complaint occurred in and emanated from

this District.

        9.       Venue is proper in this District under 28 U.S.C. § 1391(b) because Plaintiff

resides in this District and a substantial part of the events giving rise to this claim occurred in this

District.

                             COMMON FACTUAL ALLEGATIONS

The Illinois Right of Publicity Act

        10.      In 1999, the Illinois Legislature recognized that every individual has the “right to

control and choose whether and how [his or her] identity [is used] for commercial purposes,” 765

ILCS 1075/10, and as a result, passed the IRPA to protect individual property rights and prevent

the exploitation of individuals’ identities for another’s commercial gain.

        11.      The Act protects individuals from the unauthorized use of any of their attributes,

including but not limited to, their names, signatures, photographs, images, likenesses, or voices

in the sale or advertisement of goods, merchandise, products, and services.

        12.      In fact, the IRPA states that “[a] person may not use an individual’s identity for

commercial purposes during the individual’s lifetime without having obtained previous written

consent from the appropriate person….” 765 ILCS 1075/30. Notably, the IRPA does not require

the person seeking relief under the Act to be a public figure.

ZoomInfo Uses Individuals’ Names To Promote A Paid Access To Its Database

        13.      ZoomInfo owns and operates a website that sells paid access to “the world’s

leading business database.” ZoomInfo compiles its phone and email database, in part, from




                                                   3
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 4 of 11 PageID #:137




corporate websites, and social media accounts, and markets its database as “precise data you

need to reach your next customer” which includes over 63 million direct dials and over 100

million direct emails.

       14.     ZoomInfo access must be purchased from its website, which allows its paying

customers to perform searches on anyone in its database and obtain, inter alia, any individual’s

email address, phone number, and work history.

       15.     ZoomInfo creates landing pages of each individual found within its database that

features the individual’s full name, alongside certain uniquely identifying information such as

the individual’s location, preview of the individual’s email addresses and phone numbers, work

information, job title, and a list of colleagues. (“Marketing Page”). See Figure 1. ZoomInfo users

can view the Marketing Page by performing a search on ZoomInfo’s website by using an

individual’s first and last name.




(Figure 1)


                                                 4
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 5 of 11 PageID #:138




        16.     Once a user clicks either “Get Full Access To [Searched Individual]’s Info,” “Get

Email Address,” “Get Phone Number,” or any other attribute of the searched individual’s profile

such as his or her phone number or email address, ZoomInfo presents an offer to start a free trial

to access its database. See Figure 2. ZoomInfo sells paid access to access its database after the

free trial period expires.




(Figure 2)

        17.     All this advertising is intended to sell access to ZoomInfo’s services. Indeed,

rather than offering to sell a user detailed information about a searched-for individual, ZoomInfo

attempts to sell a paid service that would grant the purchaser access to detailed information on

anybody in its database.

        18.     In this way, ZoomInfo misappropriated people’s identities (names and other


                                                  5
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 6 of 11 PageID #:139




identifying information such as their location and employer information) for its own commercial

benefit (to market and promote paid access any and all information in its database).

       19.     Most importantly, ZoomInfo never obtained written consent from Plaintiff and

Class members to use their names or other identifying information for any reason, let alone for

commercial purposes. Defendant never notified Plaintiff and Class members that their names or

other identifying information would appear on its Marketing Page in conjunction with an offer to

purchase access to its database of individual’s contact information. Moreover, Plaintiff and the

Class members have no relationship with ZoomInfo whatsoever.

       20.     Plaintiff, on behalf of herself and other similarly situated Illinois residents, brings

this action against Defendant for its ongoing violations of the IRPA, and seeks (1) injunctive

relief requiring Defendant to cease using Illinois residents’ identities for commercial purposes,

including on its Marketing Page, (2) the greater of an award of actual damages, including profits

derived from the unauthorized use of individuals’ names, or statutory damages, (3) an award of

punitive damages, and (4) an award of costs and reasonable attorneys’ fees.

                             FACTS SPECIFIC TO PLAINTIFF RAMOS

       21.     In 2021, Plaintiff Joselyn Ramos discovered that ZoomInfo was using her identity

to solicit the purchase of paid access to ZoomInfo.

       22.     ZoomInfo specifically identified Plaintiff by her photograph, full name, employer,

job title, names of colleagues, and previews of her contact information (such as her email address

and phone number) on its Marketing Page. See Figure 1.

       23.     Plaintiff never provided ZoomInfo with her written consent (or consent of any

kind) to use any attribute of her identity for commercial purposes, and certainly never authorized

ZoomInfo to use her identity to promote any of its products or services.




                                                  6
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 7 of 11 PageID #:140




       24.     Plaintiff Ramos is not and has never been a ZoomInfo customer. She has no

relationship with ZoomInfo whatsoever.

                                     CLASS ALLEGATIONS

       25.     Class Definitions: Plaintiff Joselyn Ramos brings this action pursuant to Federal

Rule of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of herself and a Class defined as

follows:

       All Illinois residents whose identities were displayed on the Marketing Page.

       26.     Excluded from the Class are: (1) any Judge or Magistrate presiding over this

action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or their parents have a

controlling interest and its current or former employees, officers and directors; (3) persons who

properly execute and file a timely request for exclusion from the Class; (4) persons whose claims

in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s

counsel and Defendant’s counsel; and (6) the legal representatives, successors, and assigns of

any such excluded persons.

       27.     Numerosity: The exact number of Class members is unknown and not available

to Plaintiff at this time, but it is clear that individual joinder is impracticable. Class members can

be identified through Defendant’s records.

       28.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the putative Class, and those questions predominate over

any questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               a.      Whether Defendant used Plaintiff’s and Class members’ names and




                                                  7
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 8 of 11 PageID #:141




                       identities for a commercial purpose;

               b.      Whether Plaintiff’s and Class members provided their written consent to

                       Defendant to use their names and identities in advertisements;

               c.      Whether the conduct described herein constitutes a violation of the Illinois

                       Right of Publicity Act; and

               d.      Whether Plaintiff and the Class are entitled to injunctive relief.

       29.     Typicality: Plaintiff’s claims are typical of the claims of other members of the

Class, in that Plaintiff and the Class members sustained damages arising out of Defendant’s

uniform wrongful conduct.

       30.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class and has retained counsel competent and experienced in complex

class actions. Plaintiff has no interest antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff.

       31.     Policies Generally Applicable to the Class: This class action is appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the members of the Class and making final injunctive relief

appropriate with respect to the Class as a whole. Defendant’s policies challenged herein apply

and affect members of the Class uniformly and Plaintiff’s challenge of these policies hinges on

Defendant’s conduct with respect to the Class as a whole, not on facts or law applicable only to

Plaintiff. Plaintiff and the members of the Class have suffered harm and damages as a result of

Defendant’s unlawful and wrongful conduct.

       32.     Superiority: This case is also appropriate for class certification because class




                                                 8
    Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 9 of 11 PageID #:142




proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy because joinder of all parties is impracticable. The damages suffered by the

individual members of the Class will likely be relatively small, especially given the burden and

expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.

Thus, it would be virtually impossible for the individual members of the Class to obtain effective

relief from Defendant’s misconduct. Even if members of the Class could sustain such individual

litigation, it would still not be preferable to a class action, because individual litigation would

increase the delay and expense to all parties due to the complex legal and factual controversies

presented in this Complaint. By contrast, a class action presents far fewer management

difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single Court. Economies of time, effort and expense will be

fostered and uniformity of decisions ensured.

                                      FIRST CAUSE OF ACTION
                Violation of the Illinois Right of Publicity Act 765 ILCS 1075/1, et seq.
                                 (On behalf of Plaintiff and the Class)

          33.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          34.      The Illinois Right of Publicity Act prohibits using a person’s name, photograph,

image, or likeness for the purpose of advertising or promoting products, merchandise, goods, or

services without written consent. See 765 ILCS 1075/1, et seq.

          35.      Defendant sells paid access to its database containing detailed reports about

people.

          36.      As described above, to promote those reports, Defendant used Plaintiff’s and the

putative class members’ identities on its Marketing Pages, which display the individuals found

within its records that match searched-for names, alongside uniquely identifying information




                                                      9
   Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 10 of 11 PageID #:143




such as each person’s location, employer name, job title, and previews of their emails and phone

numbers. This information serves to identify such individuals.

       37.     The Marketing Page has a commercial purpose in that it promotes the ZoomInfo

website and paid access reports in its database.

       38.     Plaintiff and members of the Class never provided Defendant with their written

consent to use their full names (or any attribute of their identity) in advertisements for ZoomInfo.

Defendant never notified Plaintiff and Class members that their identities would be used in

commercial advertisements.

       39.     Defendant deprived Plaintiff and Class members of control over whether and how

their names and other identifying information can be used for commercial purposes.

       40.     Based upon Defendant’s violation of the Illinois Right of Publicity Act, Plaintiff

and Class members are entitled to (1) an injunction requiring Defendant to cease using Plaintiff’s

and members of the Class’s names and any attributes of their identities to advertise its products

and services, (2) the greater of an award of actual damages (including profits derived from the

unauthorized use of Plaintiff’s and Class members’ names and identities) or statutory damages of

$1,000 per violation to the members of the Class, (3) an award of punitive damages, and (4) an

award of costs and reasonable attorneys’ fees under 765 ILCS 1075/40-55.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Joselyn Ramos, individually and on behalf of the Class, prays

that the Court enter an Order:

       a.      Certifying this case as a class action defined above, appoint Joselyn Ramos as
               Class Representative, and appoint her counsel as Class Counsel;

       b.      Declaring that Defendant’s actions described herein constitute a violation of the
               Illinois Right of Publicity Act;




                                                   10
   Case: 1:21-cv-02032 Document #: 24 Filed: 10/01/21 Page 11 of 11 PageID #:144




       c.      Awarding injunctive and other equitable relief as necessary to protect the interest
               of the Class, including, inter alia, an order prohibiting Defendant from engaging
               in the wrongful and unlawful acts described herein;

       d.      Awarding the greater of actual damages, including the profits derived from the
               unauthorized use of same, or statutory damages in the amount of $1,000 per
               violation of the members of the Class;

       e.      Awarding punitive damages where applicable;

       f.      Awarding Plaintiff and the Class their reasonable litigation expenses and
               attorneys’ fees;

       g.      Awarding Plaintiff and the Class pre- and post-judgment interest; and

       h.      Granting such other and further relief as the Court deems equitable and just.

                                         JURY DEMAND

       Plaintiff requests trial by jury of all matters that can be so tried.

                                               Respectfully Submitted,

                                               JOSELYN RAMOS, individually and on behalf of
                                               all others similarly situated,

Dated: October 1, 2021                         By: /s/ Benjamin S. Thomassen
                                                       One of Plaintiff’s Attorneys


                                               Benjamin H. Richman
                                               brichman@edelson.com
                                               Ari J. Scharg
                                               ascharg@edelson.com
                                               Benjamin S. Thomassen
                                               bthomassen@edelson.com
                                               Albert J. Plawinski
                                               aplawinski@edelson.com
                                               EDELSON PC
                                               350 North LaSalle Street, 14th Floor
                                               Chicago, Illinois 60654
                                               Tel: 312.589.6370
                                               Fax: 312.589.6378

                                               Attorneys for Plaintiff and the Class




                                                  11
